                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                 15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



       Response in Opposition to Plaintiff’s Motion to Enforce the Court’s Order and
            Direct Defendant to Answer Deposition Questions Filed Under Seal




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       Defendant Ghislaine Maxwell, by and through her counsel, hereby submits the following

Response in Opposition (“Response”) to Plaintiff’s Motion to Enforce the Court’s Order and

Direct Defendant to Answer Deposition Questions Filed Under Seal (“Motion”), as follows:

                                        INTRODUCTION

       This lawsuit presents one relatively simple question: is Plaintiff’s claim that she was

sexually abused, sexually trafficked and held as a “sex slave” by Jeffrey Epstein between 1999

and 2002 “with the assistance and participation of” Ms. Maxwell substantially true? Plaintiff

already has admitted, under oath, that substantial portions of her story are untrue; she has so far

refused to say under oath what other lies printed by the press about her story are untrue, but has

admitted that journalist Sharon Churcher “got it wrong.” For example, Plaintiff has admitted that

she did not meet Ms. Maxwell or Mr. Epstein in 1999 (or in 1998) at the age of 14 or 15, as she

previously has sworn and as she told members of the press. Declaration of Jeffrey S. Pagliuca

“Pagliuca Decl.”), Composite Ex. A (Testimony of Plaintiff Virginia Giuffre on May 3, 2016), at

26-27, 220-226. Plaintiff admitted that she did not spend her sweet 16th birthday with Mr.

Epstein and Ms. Maxwell as she included in her book manuscript, her Jane Doe #102 Complaint

and in the story she sold to the Daily Mail. Id. at 102. Plaintiff’s counsel has admitted that it

was a mistake to sue Alan Dershowitz for defamation, after he provided them documentation

establishing he never was in their client’s presence, nor did he have sex with her. Pagliuca Decl.,

Ex. B. And Plaintiff’s story about attending a dinner party with               on Little St. James

was debunked by none other than                                    . Id.

       Yet, undeterred, Plaintiff and her counsel continue to use this lawsuit to seek discovery of

matters far afield of the one simple question posed in the defamation claim, to explore events

that occurred well past 2002, when Plaintiff lived in Australia and had no contact with Ms.

Maxwell or Mr. Epstein. The current witch-hunt has now expanded into the private personal life
                                                 1
of defendant Ghislaine Maxwell. The harassing, extended, repetitive, cumulative and redundant

continued deposition of Ms. Maxwell should be concluded.

                                  FACTUAL BACKGROUND

       On April 22, 2016 Plaintiff deposed Ms. Maxwell for a full seven hours. The transcript

of that deposition is 418 pages long. Ms. Maxwell did not assert any privilege against self-

incrimination and was questioned extensively about, among other things: her relationship with

Jeffrey Epstein, her knowledge of “sexual trafficking,” sex with minors, non-consensual sex, sex

involving the Plaintiff and others, sex involving Plaintiff and Mr. Epstein, sex involving the

Plaintiff and Ms. Maxwell, sex involving the Plaintiff, Ms. Maxwell and Mr. Epstein. She was

asked questions about whether she recruited girls for Ms. Epstein to have sex with, her

knowledge of Ms. Epstein’s sex with a number of people. She was asked questions about “sex

toys,” pornographic images, child pornography, and nudity at Mr. Epstein’s house. Ms. Maxwell

answered these questions, and many others, to the best of her ability. See Pagliuca Decl.,

Composite Exhibit C (Transcript of (First) Deposition of Ghislaine Maxwell on April 22, 2016).

       During her first deposition, Ms. Maxwell was freely questioned and testified about the

following:

      She never had a sexual encounter with Plaintiff, ever. Id. at 76:3-11.

      She never saw Plaintiff massage Mr. Epstein. Id. at 75:12-24.

      She never saw Jeffrey Epstein and Plaintiff in a sexual situation. Id. at 75:23- 76:l.

      She did not have a set of outfits for Plaintiff to wear. Id. at 69:1-24, and again at 117:4-
       15.

      She had no knowledge of any non-consensual sex acts involving Mr. Epstein. Id. at 55:5-
       15.

      She never had non-consensual sex with anyone. Id. at 62:19-20 & 63:23-25.


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   She did not train Plaintiff to “recruit” other girls for massages or sexual massages. Id. at
    81:21- 82:7.

   She never arranged for or asked Plaintiff to have sex with anyone. Id. at 58:6-11.

   She never gave a massage with Plaintiff in the room with Mr. Epstein. Id. at 19:16-21.

   She never gave a massage to Mr. Epstein with a female that was under the age of 18 in
    the room. Id. at 22:11-14.

   She never observed Mr. Epstein having a massage given by an individual, a female, who
    was under the age of 18. Id. at 22:15-18.

   She never had sex with                . Id. at 38:19-23.

   She never observed Jeffrey Epstein having sex with                       Id. at 38:24- 39:2.

   She was unaware if Jeffrey Epstein was having sexual contact with                       when
    she was 13 years old. Id. at 39:3-5.

   She was never involved in an orgy with                   . Id. at 40:16-18.

   She had no knowledge of whether                   was involved with sex with Jeffrey
    Epstein and girls over the age of 18. Id. at 46:13-16.

   She had no knowledge of whether                   recruited other girls for sex with Jeffrey
    Epstein. Id. at 46:17-21.

   She did not know the precise nature of Jeffrey Epstein’s relationship with                   . Id.
    at 48:5-6.

    She was unaware of any sexual acts with masseuses and Jeffrey Epstein that were non-
    consensual. Id. at 55:5-15.

   She discussed her knowledge of                  . Id. at 55:17- 56:20.

   She had no knowledge of                   telling the police that Jeffrey Epstein sexually
    assaulted her. Id. at 56:16-20.

   She had no knowledge of                   having sex with Jeffrey Epstein. Id. at 65:10-15.

   She never had sex with Jeffrey Epstein, Plaintiff, and                   . Id. at 65:8-10.

   She had no knowledge of                   bringing females to the house to massage Jeffrey
    Epstein. Id. at 67:5-13.

   She had no knowledge about a basket of sex toys. Id. at 70:25- 75:4 and again at 242:3-
    243:13.
                                              3
      She was unaware of Jeffrey Epstein ever having his nipples pinched while having sex
       with a minor. Id. at 82:23-83:4.

      She never met anyone underage in London to provide a massage for Jeffrey Epstein. Id.
       at 97:25-98:5.

      She had no knowledge about                   bringing girls to Jeffrey Epstein for the
       purpose of providing massages. Id. at 99:2-21.

      She never participated in obtaining visas for foreign girls. Id. at 100:9.

      She did not believe it was Jeffrey Epstein’s preference to start sex with a massage. Id. at
       100:10-20.

      She never trained a female under the age of 18 at Jeffrey Epstein’s home. Id. at 157:5-10.

      She has no knowledge whether                ever asked females to come over to see
       Jeffrey Epstein for the purpose of sexual massage. Id. at 268:21-24.
      She had no knowledge of any sexual relationship between Jeffrey Epstein and
                   Id. at 305:5-23.
      She was aware of                and understood that she was Jeffrey Epstein’s girlfriend
       and spent a lot of time with him in 1999-2000. Id. at 364:5-365:11.

       Because Ms. Maxwell had not, by virtue of becoming a defendant in this case, injected

her entire personal sexual history into this litigation counsel for Ms. Maxwell, during the first 7

hour deposition, instructed Ms. Maxwell to not answer questions related to consensual sexual

activity with adults. No objection was raised, and no instruction to not answer lodged, to

questions regarding Ms. Maxwell’s knowledge of sexual activity (consensual or non-consensual)

by Mr. Epstein or others with children, Plaintiff, or other persons. No objections were made, or

instructions to not answer, to questions about whether Ms. Maxwell assisted Mr. Epstein in the

alleged sexual trafficking of the Plaintiff from 1999 to 2002. Ms. Maxwell answered questions

about sexual trafficking, prostitution, her job with Mr. Epstein, and police reports related to Mr.

Epstein. Ms. Maxwell was questioned, without any instruction not to answer, about message

pads, phone lists, the hiring practices related to massages, hiring practices in general, whether

Jeffrey Epstein had a scheme to recruit underage girls for sexual massages and whether Jeffrey

                                                 4
Epstein’s assistants would arrange times for underage girls to perform sexual massages.

Pagliuca Decl., Ex. C at 253-55. She was extensively questioned about various message pads

recovered from Jeffrey Epstein’s home by the Palm Beach Police Department. Id. at 147:23-

167:23. She was extensively questioned regarding her knowledge about                      . Id. at

307:6-312:12. She was extensively questioned about a list containing names and phone numbers

under the heading “Massage Florida.” Id. at 313:18 – 334:8. Simply stated, with the exception of

her adult consensual sex life, Plaintiff was free to question Ms. Maxwell, and in fact questioned

Ms. Maxwell on any topic. Importantly, Plaintiff’s original motion recognized this fact, seeking

only to response Plaintiff on one subject: “Defendant should be ordered to sit for a follow-up

deposition and directed to answer questions regarding her knowledge of alleged “adult” sexual

activity.” Plaintiff’s Motion to Compel Deposition Questions, WHEREFORE Clause, at 10

(Doc. # 143).




                                                5
                            Presumably the Court did not authorize repetitive questioning about

topics that had been asked and answered in the prior deposition.




                                            . The instruction not to not to answer questions

about sexual activity and massages was limited to any activity involving consensual adults. See

Plaintiff’s Motion to Compel Deposition Questions at 10 (Doc. #143).

       Given that the majority of the questions had already been posed and answered over a full

seven-hour time period one might reasonably assume that Ms. Maxwell’s second deposition

would be short and direct. Unfortunately, Plaintiff’s counsel chose to ignore the Court’s Order,

repeatedly sought to reopen previously completed deposition topics and tried to ask questions

about new topics completely unrelated to the limited purpose authorized. Pagliuca Decl., Ex. D

(Transcript of (Second) Deposition of Ghislaine Maxwell on July 22, 2016). The entire

deposition was far beyond the specific request made by Plaintiff in her Motion that Ms. Maxwell


                                                6
be required to answer questions about adult consensual sexual activity – the only questions on

which instructions were given in the first deposition. Yet, broad latitude was given by counsel in

the deposition, permitting pages of duplicative, redundant examination on countless topics which

had already been asked and fully answer in the first disposition. By way of example:

                                                     First Deposition       Second Deposition
         Duplicative Topic of Questioning
                                                     (Exhibit C)            (Exhibit D)

Circumstances surrounding her first meeting of       14:9-19:18
Plaintiff and if she held herself out as a           35:11-36:20            65:4-70:5
professional masseur                                 213:5-220:3


                                                     12:22-14:8;
If she saw women under the age of 18 (first
                                                     22:15-24:9;
deposition) or 21 (second deposition) at                                    71:20-73:18
                                                     99:2-100:4;
Epstein’s houses
                                                     122:19-122:14


Her knowledge of             , her job, how she      59:7-63:16;
was hired, and if Ms. Maxwell ever received          286:23-293:13;         74:2-78:191
massages from                                        307:6-312:12


Knowledge of or meetings with                        55:20-56:20;           95:14-98:10;
                                                     62:21-25               103:19-113:22


Her knowledge of                      and                                   120:22-122:5;
                                                     40:19-47:14
interactions with Mr. Epstein                                               126:22-129:12




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    Consistent with Ms. Maxwell’s testimony,



                                                                                                 .
                                                 7
                                                        First Deposition    Second Deposition
       Duplicative Topic of Questioning
                                                        (Exhibit C)         (Exhibit D)

                                                        47:15-49:18;
Her knowledge of             , when she last            56:21-57:11;
spoke to            , what             job was,         254:25-256:8;       117:14-118:9;
and her knowledge of sexual relations between           328:21-329:6;       125:2-126:21
       llen and Mr. Epstein                             396:4-21;
                                                        411:14-412:22


                                                        329:7-330:12;
Her interactions with                                                       129:15-132:6
                                                        331:9-335:10


                                                        379:22-380:18;
Her knowledge concerning                                99:14-21;           150:6-17
sexual activities or interaction with Mr. Epstein       116:19-117:3;
                                                        166:21-167:23


Her knowledge of the identities of a list name          312:15-334:8        179:16 -184:15
titled “Massage – Florida” from an address book
marked in the first deposition and discussed at
length




THE QUESTIONS

I.     PLAINTIFF’S FAILURE TO IDENTIFY THE SPECIFIC QUESTIONS
       CLAIMED UNANSWERED REQUIRES DENIAL OF THE MOTION
       Plaintiff broadly, and inaccurately, claims now that at her second deposition, Ms.

Maxwell “refused to answer many questions” related to sexual activity or “refused to answer

questions about subject integral to this lawsuit.” Motion at 3-4. This assertion is patently

dispelled by a review of the second deposition transcript which is 193 pages long. Pagliuca

Decl., Ex. D. The deposition began at 9:04 a.m. and concluded at 2:51 p.m. The total time Ms.

Maxwell testified in this deposition was 4 hours and 52 minutes for a total combined deposition

                                                    8
time of 11 hours and 52 minutes. A total of 787 questions were posed to Ms. Maxwell in the

second deposition. Ms. Maxwell answered every question posed to her that fell within the scope

of the June 20 Order, many that were outside the scope, and countless questions that had been

asked and answered in her first deposition.

        It is difficult to discern precisely what questions Plaintiff is complaining about in her

Motion because of her generalized and non-specific complaints. Plaintiff fails to cite to a single

instruction not to answer that 1) falls within the scope to the Court’s Order and 2) that was not

answered when properly rephrased to fall within the scope of the Order. S.D.N.Y. Local Rules

require that:

                A party seeking or opposing relief under Fed. R. Civ. P. 26 through 37
                inclusive, or making or opposing any other motion or application, shall
                quote or attach only those portions of the depositions, interrogatories,
                requests for documents, requests for admissions, or other discovery or
                disclosure materials, together with the responses and objections
                thereto, that are the subject of the discovery motion or application, or
                that are cited in papers submitted in connection with any other motion or
                application. See also Civil Local Rule 37.1.

        The failure to comply with Rule 37.1 and set forth the particular questions or responses

Plaintiff claims are deficient is “enough to require denial of the motion.” Sibley v. Choice Hotels

Int'l, No. CV 14-634 (JS) (AYS), 2015 WL 9413101, at *5 (E.D.N.Y. Dec. 22, 2015) (denying

motion to compel where party failed to identify the specific questions and responses to

interrogatories claimed deficient); see also Kilkenny v. Greenberg Traurig, LLP, No. 05 CIV.

6578NRB, 2008 WL 371808, at *1 (S.D.N.Y. Feb. 7, 2008) (denying motion to compel where

specific questions and objection were not provided, noting rule 37.1 is “This is not an academic

or ritual requirement. . . . Court cannot be tasked with performing the functions of Kilkenny's

legal counsel [by identifying claimed deficiencies] and thereby seen as advocating for one party

over another.”; Frattalone v. Markowitz, No. 91 CIV. 5854 (LMM), 1994 WL 494878, at *3

                                                  9
(S.D.N.Y. Sept. 9, 1994) (permitting reopening of deposition only if party could specifically

identify areas of inquiry previously foreclosed). To the extent Plaintiff has not identified specific

questions that Ms. Maxwell was instructed not to answer she has waived any issue related to the

questioning.

II.    THE REQUESTED TOPIC AREAS ARE CUMULATIVE, DUPLICATIVE
       AND NO GOOD CAUSE EXISTS FOR PERMITTING ADDITIONAL
       DEPOSITION TIME
       Plaintiff’s proffered “topic areas” that she would like to re-open the deposition to cover –

again – makes clear that what she is asking for is additional time – in excess of the almost 12

hours she has already had – to ask questions that have already been answered. This is

impermissible under Rule 30(d)(1) which prohibits depositions in excess of 7 hours seeking the

type of duplicative and cumulative testimony Plaintiff seeks.

       The only testimony cited in the Motion are instances in which Ms. Maxwell had already

fully testified on the topic area. First, she cites questions concerning                 , a witness

who has been deposed in this case. What Plaintiff ignores is that Ms. Maxwell had already been

fully examined concerning her knowledge about                   and answered every question, with

the exception of a single questions regarding adult consensual sexual activity which was

answered in the second deposition. See Pagliuca Decl., Ex. C at 59:7-63:16; 286:23-293:13;

307:6-312:12 & Ex. D at 77:24 – 78:6 (“Q. Did Mr. Epstein, insofar as you believe, engage in

sexual activities with         ? A. I would not know. I would say no. Q. Did you engage in

sexual activities with         ? A. No.”). Despite this, leeway was given, and 5 pages of

repeated testimony concerning                 commenced and was permitted until the duplicative

nature of the testimony was simply too much. See Pagliuca Decl., Ex. D at 74:2-78:19.




                                                 10
        Second, Plaintiff inaccurately complains that Ms. Maxwell refused to answer questions

concerning sexual activity involving two women named                                  . Motion at 6.

Not so. Ms. Maxwell answered questions for fully 13 pages of her deposition concerning

        . See Pagliuca Decl., Ex. D at 95-98 and 103-113. Ms. Maxwell answered well over 76

questions relating to                            including who they are, when she met them,

whether she ever saw them at Epstein’s homes or her own home, whether Epstein ever had sex

with them, whether they worked for Epstein, whether they flew on planes together, gave or

received massages, participated in any sexual activities with one another, where they lived, the

description of their living environments, and whether journalist Vicky Ward ever told Ms.

Maxwell that Epstein had engaged in sexual activities. Id. This was on top of the questions that

Ms. Maxwell had already answered at her first deposition that were nearly identical: who are

            , how did you meet them, whether they ever made any allegations of sexual abuse by

Epstein, or whether Ms. Maxwell had ever had non-consensual sexual contact with

         Pagliuca Decl., Ex. C at 95:14 -98:10 & 103:19-113:22. In fact, at the first deposition,

Ms. Maxwell did not refuse to answer a single question regarding                  . Thus, all of the

questions at the second deposition were redundant, cumulative and outside of the Court’s Order.

The only question that Ms. Maxwell refused to answer was: “What did Vicky Ward tell you

about                when she talked to you?,” after which she answered another 10 pages of

questions that centered around whether Vicky Ward had said specific things regarding

          Pagliuca Decl., Ex. D at 103-113. Ms. Maxwell has already flatly denied she had any

knowledge of the allegations posited by reporter Vicky Ward.

        Plaintiff is not permitted to re-depose Ms. Maxwell on issues already covered, or which

she had the opportunity to cover, in the first 7-hour deposition, particularly in light of the


                                                  11
additional 4.5 hours permitted in the second deposition and the fact that she answered in the

second deposition the only pertinent questions permitted by the Court Order. See Fed. R. Civ. P.

30(d)(1) (“the court must allow additional time consistent with Rule 26(b)(1) and (2) if needed

to fairly examine the deponent”) (emphasis added). Rule 30(d)(1) requires a court to guard

against redundant or disproportionate discovery, stating that any additional deposition time must

be consistent with Rule 26(b)(1) and (2), prohibiting, among other things, cumulative and

duplicative testimony. The duplicative nature of the “topics” requested by Plaintiff is

demonstrated by the previously cited testimony. It is compounded by the fact that

has fully testified concerning how she came to work for Epstein, what she did while working for

him, and how she was paid. See This Response at 20-21, infra. The redundancy of the requested

testimony (much of which is outside the scope of the Order) prohibits a finding of good cause for

reopening – yet again – Ms. Maxwell’s testimony. See Kleppinger v. Texas Dep't of Transp.,

283 F.R.D. 330, 333 (S.D. Tex. 2012) (“a party seeking a court order to extend the duration of

the examination must show ‘good cause’ to justify such an order” including showing information

is not duplicative and cumulative).

       Of course, Ms. Maxwell and her counsel had no desire to subject Ms. Maxwell to a third

deposition, thus permitting many questions that far exceeded the scope of the Order. When

called on to explain how extraneous questions were proper, Plaintiff’s counsel refused to proffer

why certain questions were within the Court’s order leaving Ms. Maxwell’s counsel no option,

on a few occasions, to instruct Ms. Maxwell to not answer. Plaintiff’s counsel’s refusal to

simply explain how objectionable questions were within the scope of the permitted deposition

makes clear that they were not, and should act as a waiver. See, e.g., Pagliuca Decl., Ex. D at

99-101.


                                                12
III.    COUNSEL INSTRUCTED MAXWELL NOT TO ANSWER TO ENFORCE
        THE COURT’S ORDER AND TO PREVENT HARASSMENT BY
        PLAINTIFF’S COUNSEL
        The only questions to which counsel for Ms. Maxwell instructed her not to answer were

those that she had already answered or were outside the Court’s Order permitting a re-opening of

the deposition. Fed. R. Civ. P. 30(c)(2) (instruction not to answer appropriate “when necessary

to … enforce a limitation ordered by the court”). Plaintiff loosely points to eleven questions in

her Motion. She omits parts in which the question had already been answered, and she implies

an instruction not to answer where none was given. None of the cited questions merits the re-

opening of Ms. Maxwell’s deposition for a third bite at the apple.

        A.     Objected to Question Number 1:
        “So how did it happen, Ms. Maxwell, that        who had been hired to answer phones,
        ended up giving massages to you and Mr. Epstein.”

        In Ms. Maxwell’s first, 7 hour, deposition she was questioned extensively about her

relationship with              . See Pagliuca Decl. Ex. C at 59-63; 112-113; & 307-309.

Consistent with the Defendant’s position at that time, Plaintiff was free to ask, and asked,

questions about               with the exception of consensual adult sexual contact. The only

instruction to not answer was limited to consensual adult sexual contact, of which there was

none. (Although in fact, Ms. Maxwell testified in her first deposition that the massages with

        did not involve sex.). See Pagliuca Decl. Ex. C at 61:14-15..

        In Ms. Maxwell’s second, 4.5 hour deposition, she was again questioned extensively

about               . The questioning begins on page 74 of the transcript. Plaintiff’s counsel

asked dozens of questions about                without any instruction to not answer. When the

questions became repetitive to the questions asked at the first deposition and strayed outside the



                                                 13
Court’s Order counsel for Ms. Maxwell sought guidance form the Court, which was not

available.

       Notwithstanding that the examination was repetitive, Ms. Maxwell responded to

questions, without instruction not to answer, that were within the Court’s Order. She testified

that she did not have any sexual relationship or contact with                and was unaware of

any sexual contact between Mr. Epstein and                  . See Pagliuca Decl. Ex. D at 77:24-

78:6. She also testified about               and massages, both in her first deposition and the

second. See Pagliuca Decl. Ex. C at 59-63; 112-113; & 307-309 and Ex. D at 74-82:8.

       When the question about                                      for was asked for the fourth

time, the instruction not to answer was given. These questions had been asked in the first

deposition, could have been asked in greater detail in the first deposition, and were answered in

both depositions prior to the instruction not to answer being given:

                and sometime after that went to massage school and began giving massages. Ms.

Maxwell was not sure how the transition occurred but believed “that she went to massage school

and became a professional masseuse.” Id., at 75:10-11.

       B.      Objected to Questions Number 2 and 3.
       “Did Mr. Epstein pay       for the massages that she gave Mr. Epstein?”
       “Do you know how much Mr. Epstein paid          to give massages?”

       Plaintiff has selectively and misleadingly provided only a portion of the transcript related

to this issue and ignores the fact that Plaintiff, in the first deposition, asked questions on the same

topic. Moreover, Ms. Maxwell previously testified that she did not pay                   and did not

know who paid her. See Pagliuca Decl. Ex. C at 59-63; 112-113; & 307-309 and Ex. D at 82:2-

7.




                                                  14
       C.      “Objected” to Question Number 4.
       “Do you know if                   was ever at                                 ?”

       This question is completely outside the Court’s June 20, 2016 Order as it does not relate

to Ms. Maxwell, Mr. Epstein, massages, sex, or any property identified in this case. Regardless,

the witness was never instructed to not answer the question and did not refuse to answer

questions about              . After the question was posed, counsel for Ms. Maxwell simply

asked for an explanation as to how the question was within the Court’s Order. The witness was

not instructed not to answer. It appears that after considering the request for a proffer as to how

the question was within the Court’s Order, the question was withdrawn and a different question

was posed: “Mr. Boies: Let me approach it this way.” … Did Ms. Ward tell you that?” The

questioning about              continues many pages thereafter. See Pagliuca Decl., Ex. D at 99-

113.

       D.      “Objected” to Question Number 5
       Without any record support Plaintiff claims that “Defendant’s counsel also stopped a line

of questioning in which defendant was asked if she recalled several girls                  brought

over to give a ‘massage’ to Epstein.” Plaintiff cites no specific instruction not to answer because

one was never given. Ms. Maxwell answered questions about                     and was questioned

extensively regarding lists of names, about which Ms. Maxwell had no knowledge. Plaintiff was

not forced to “cease questioning” about any person. The questioning occurred and Ms. Maxwell

responded.

       E.      “Objected” to Question Number 6
       “Was there a list that was kept of women or girls who provided massages?”

       The “list” was introduced as Exhibit 13 to Ms. Maxwell’s first deposition. Ms. Maxwell

was questioned extensively about the “list” and testified, without objection about the list. In her
                                                15
second deposition, the same Exhibit 13 was introduced and Ms. Maxwell was asked, without

objection, questions relating to specific names on Exhibit 13. See Pagliuca Decl., Ex. C at 312-

334 and Ex. D at 179- 89.

       Exhibit 13 was a document prepared by someone other than Ms. Maxwell, was not

maintained by Ms. Maxwell and over which Ms. Maxwell had no control. Given the extensive

testimony on the subject in both depositions, it was appropriate to instruct the witness to not

answer the question. This debate, however is unnecessary because the question was asked again

in a slightly different form and answered: Q: “Did you, or insofar as you are aware anyone,

maintain a list of females that provided massage services to Mr. Epstein at his residences?” A: “I

don’t know anything about a list.” Id., Ex. D at 185:13-20. No follow up questions were asked

after this answer.

       F.      Objected to Question Number 7
       “In 2005, were you aware of any effort to destroy records of messages you had taken of
       women who had called Mr. Epstein in the prior period?”

       Ms. Maxwell was previously deposed about documents purportedly seized when Mr.

Epstein’s house was searched by the Palm Beach Police Department. See Pagliuca Decl., Ex. C

at 312-19.

       The Court’s June 20, Order did not reopen the deposition to allow for baseless questions

about the destruction of evidence in 2005. Alleged destruction of records has nothing to do with

any of the 8 areas that the Court addressed. Accordingly, the objection is well founded.

Plaintiff’s tortured explanation about how the question fits into the Court’s Order is nonsense.




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       G.      Objection to Question Number 8
       “In terms of preparing for this deposition, what documents did you review?”

       Ms. Maxwell was instructed to not answer the question as it related to privileged

communications between Ms. Maxwell and counsel. Ms. Maxwell was asked if any of the

documents refreshed her recollection about any of the events that occurred. Her response was:

“No.” A follow up question was asked as to whether counsel provided Ms. Maxwell with any

documents and the answer was “One, I believe.”

       The communication between Ms. Maxwell and counsel was privileged, did not refresh

her recollection, and the question was properly objected to.

       H.      Objections to Questions 9, 10, and 11.




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       Federal Rule of Civil Procedure 26(b)(1) provides, in relevant part, that "[p]arties may

obtain discovery regarding any matter, not privileged, that is relevant to the claim or defense of

any party ….” Although the scope of discovery is deliberately broad, a Court is not "required to

permit plaintiff to engage in a `fishing expedition' in the hope of supporting his claim." McGee v.

Hayes, 43 Fed.Appx. 214, 217 (10th Cir. 2002) (unpublished opinion); see also Tottenham v.

Trans World Gaming Corp., 2002 WL 1967023, at *2 (S.D.N.Y.2002) ("Discovery, however, is

not intended to be a fishing expedition, but rather is meant to allow the parties to flesh out

allegations for which they initially have at least a modicum of objective support") (quotations

omitted); Hardrick v. Legal Services Corp., 96 F.R.D. 617, 618 (D.D.C.1983) (courts should,

remain concerned about "fishing expeditions, discovery abuse and inordinate expense involved

in overbroad and far-ranging discovery requests.") (quotation omitted). "[B]road discovery is

not without limits and the trial court is given wide discretion in balancing the needs and rights of

both plaintiff and defendant." Gomez v. Martin Marietta Corp., 50 F.3d 1511, 1520 (10th

Cir.1995) (quotation omitted).

       Although relevance in discovery is broader than that required for admissibility at trial,

"the object of inquiry must have some evidentiary value before an order to compel disclosure of

otherwise inadmissible material will issue." Zenith Electronics Corp. v. Exzec, Inc., No. 93 C

041, 1998 WL 9181, at *2 (N.D.I11.1998) (quoting Piacenti v. Gen. Motors Corp., 173 F.R.D.

221, 223 (N.D.I11.1997)). Courts have also recognized that "[t]he legal tenet that relevancy in




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the discovery context is broader than in the context of admissibility should not be misapplied so

as to allow fishing expeditions in discovery." Id. (quotation omitted).

        Under Rule 26(c) of the Federal Rules of Civil Procedure any party may move the court,

for good cause shown, for a protective order regarding pretrial discovery “which justice requires

to protect a party or person from annoyance, embarrassment, oppression or undue burden or

expense.” Fed. R. Civ. P. 26(c). “Although the Rule contains no specific reference to privacy or

to other rights or interests that may be implicated, such matters are implicit in the broad purpose

and language of the Rule.” Seattle Times Company v. Rhinehart, 467 U.S. 20, 35 (1984).




        I.      THE PURPORTED “FACTUAL BACKGROUND” CITED BY PLAINTIFF
                IS NOT RELEVANT TO THE ISSUES IN THE CASE OR THIS MOTION

        As Carl Sandburg famously said, “If the facts are against you, argue the law. If the law is

against you, argue the facts. If the law and the facts are against you, pound the table and yell like

hell.” In this case, rather than pound the table, Plaintiff tries to distract from the issues at hand –

whether Ms. Maxwell fully answered all questions posed – by pointing to selective misleading

quotes from various other witnesses who have been deposed in this case. When viewed in their

entirety, those witnesses neither support Plaintiff’s single claim for defamation nor her claim for




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relief in this Motion. In direct contradiction to Plaintiff’s fabricated story, the witnesses actually

testified as follows:




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       Joe Recarey, the lead investigator of Jeffrey Epstein from the Palm Beach County Police

Department, testified at his deposition, that (in contrast to Plaintiff’s claims):


      He and other investigators interviewed approximately 30-33 females in connection with
       the case and identified approximately 17 victims. Pagliuca Decl., Ex. F at 179, 334.

      Ms. Maxwell was never a suspect in their investigation, was not a target of the grand jury
       investigation, nothing of Ms. Maxwell’s was seized from the home during execution of
       the search warrant, and Ms. Maxwell was never observed at the Epstein home during the
       police surveillance. Id. at 177, 211-12,214-16, 257.

      None of the victims identified Ms. Maxwell as having “recruited” them to come give
       massages to Epstein. Id. at 180-82, 191-93, 195.

      None identified Ms. Maxwell as even being at the house when they were there, or paying
       them, or instructing them on what to wear or how to act, or ever of having spoken to
       them. Id.

      None were ever sexually trafficked to other men; Jeffrey Epstein was the only person
       with whom they had any sexual contact. Id. at 300-301.

      None were ever asked to spend the night with Epstein, or travel with them. Id.

      He did not observe any child pornography or any photos of naked women in the home
       when he went to help install cameras to catch a thief in Mr. Epstein’s home in 2002 (who
       turned out to be butler Juan Alessi). Id. at 288-90.

       Juan Alessi. He served as the butler for approximately 10 year period at Mr. Epstein’s

home in Palm Beach. He testified that:



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   The majority of masseuses that came to the house were over the age of 20. Pagliuca
    Decl., Ex. G at 200.

   Mr. Epstein and Ms. Maxwell found the massage therapists from the high-end spas
    nearby, including the Breakers, Boca Raton and Mar-a-Lago, as Mr. Alessi confirmed
    when he called them at their jobs to arrange home visits. Id. at 187-88.

   The massage therapists were paid by check. Id. at 166.

   Plaintiff was working at one of these spas when she was hired, wearing an old-
    fashioned nurse’s type uniform. Id. at 174.

   Contrary to Plaintiff’s main story, she did not go upstairs with Mr. Epstein the first
    time she came over and he did not drive her home. Id. at 192.




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                                         CONCLUSION

       Because Ms. Maxwell fully answered all questions within the Court’s Order (and many

that were not) at her continued deposition, she respectfully requests the Court deny Plaintiff’s


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Motion to Enforce the Court’s Order and Direct Defendant to Answer Deposition Questions

Filed Under Seal. Further, because Plaintiff brought this Motion without a valid basis to assert

that she refused to answer any question that was (a) within this Court’s Order and (b) not already

responded to either at her first deposition or during this deposition, Ms. Maxwell requests that

the fees and costs associated with defending this Motion be imposed on Plaintiff, her counsel or

both.




                                                 Respectfully submitted,



                                                 /s/ Jeffrey S. Pagliuca
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                               CERTIFICATE OF SERVICE

I certify that on August 8, 2016, I electronically served Response in Opposition to Plaintiff’s
Motion to Enforce the Court’s Order and Direct Defendant to Answer Deposition Questions
Filed Under Seal via ECF on the following:

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